         Case 1:20-cr-00074-MSM-LDA Document 3 Filed 05/04/20 Page 1 of 1 PageID #: 3
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                  District of
                                              __________      RhodeofIsland
                                                           District   __________

                  United States of America                      )
                             v.                                 )
                                                                )      Case No.     1:20MJ34LDA
     DAVID ADLER STAVELEY, a/k/a “Kurt David                    )
     Sanborn,” a/k/a “David Sanborn”; DOB: 1967                 )
                                                                )
                                                                )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 6, 2020 through April 27, 2020 in the county of                                        in the
                       District of       Rhode Island       , the defendant(s) violated:

            Code Section                                                 Offense Description
18 U.S.C. § 371;                             Conspiracy to Make False Statement to Influence the SBA;
18 U.S.C. § 1349; and                        Conspiracy to Commit Bank Fraud; and
18 U.S.C. § 1028A                            Aggravated Identity Theft




         This criminal complaint is based on these facts:
See the attached Affidavit of Special Agent Christina Grady, of the Federal Bureau of Investigation ("FBI").




         ✔ Continued on the attached sheet.
         ’


                                                                                           Complainant’s signature

                                                                                  Special Agent Christina Grady - FBI
                                                                                            Printed name and title

Sworn to before me and signed in my presence.


Date:             05/04/2020
                                                                                              Judge’s signature

City and state:                  Providence, Rhode Island                    Lincoln D. Almond, U.S. Magistrate Judge
                                                                                            Printed name and title
